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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF SOUTH CAROLINA
                                 SPARTANBURG DIVISION

Crypto Infiniti, LLC,

                        Plaintiff,                       C/A No. 7:24-cv-04911-TMC

                  v.
                                                     CERTIFICATE OF SERVICE
Blockquarry Corp. f/k/a ISW Holdings, Inc.,
Pantheon Resources, Inc. and Hylmen, LLC,

                        Defendants.


       Pursuant to FED. R. CIV. P. 4(h)(1)(A), Plaintiff served Hylmen LLC’s registered agent by

having the same sign for a copy of the summons and amended complaint which was delivered to

the registered agent by Federal Express on October 31, 2024. (See Exhibit 1). RULE FED. R. CIV.

P. 4(e)(1), Rule 4(d)(9), SCRCP.



                                              /s/ Burl F. Williams
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November 12, 2024
Greenville, South Carolina
